Case 2:05-cr-20042-SH|\/| Document 6 Filed 08/24/05 Page 1 of 2 Page|D 9

Flt.\i`;'¥`f?' ;`. M
UNITED sTATEs DIsTRIcT coURT
wEsTERN DIsTRiCT oF TENNESSEE 95 AUG 2b nn B= 06

Western Division

  

¢ - :; w
UNITED STATES oF AMERICA CLEIE:<Y.`W _i.`@.;l;jif;‘i COURT
‘ trw i;'r .‘l, 'i'.Ef'.l?HlS
-vs- Case No. 2:05cr20042-Ma

COURTENAY DURR

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- 'I`he Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this 3 3 day of August,

 

2005.
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

COURTENAY DURR

This door ment entered on the docket sheet ln comprl ce
with R\l|e 55 and/or 32!b) FRCrP on LM_ 0

DRISTICT OURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20042 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

